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2

3                           UNITED STATES DISTRICT COURT
4                      FOR THE EASTERN DISTRICT OF CALIFORNIA
5

6     CALIFORNIA DAIRIES, INC.,                 1:08-CV-00790 OWW DLB
7                      Plaintiff,               MEMORANDUM DECISION DENYING
                                                DEFENDANT’S MOTION FOR
8
                  v.                            JUDGMENT ON THE PLEADINGS
9                                               (DOC. 40), AND SETTING
      RSUI INDEMNITY COMPANY,                   FURTHER STATUS CONFERENCE
10                                              FOR 4/29/10 AT 8:15 A.M.
                       Defendant.
11

12
                                    I. INTRODUCTION
13
           This case concerns a directors and officers liability
14
      insurance policy (“the Policy”) issued to Plaintiff, California
15
      Dairies, Inc. (“CDI”), by RSUI Indemnity Company (“RSUI”).          RSUI
16

17    denied coverage for claims asserted against CDI in a class action

18    filed in Tulare County Superior Court, Gonzalez v. CDI, Case No.

19    08-226450 (“Gonzalez” or the “Underlying Action”), in which
20    employees and former employees of CDI allege CDI violated various
21
      provisions of the California Labor Code (“CLC”) concerning wages,
22
      hours, and related matters.
23
           RSUI initially denied coverage based on three different
24
      exclusionary provisions.       Upon the insured’s request for
25

26    reconsideration, RSUI based the denial solely on Exclusion 4 of

27    the Policy, which excludes coverage for “violation of any of the

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1     responsibilities, obligations or duties imposed by ... the Fair
2     Labor Standards Act ... or any similar provision of federal,
3
      state or local statutory law or common law....”        CDI then filed
4
      this action seeking declaratory relief regarding coverage under
5
      the Policy.   The initial complaint was dismissed with leave to
6
      amend.   Doc. 24, filed Mar. 20, 2009.       Plaintiffs filed a First
7

8     Amended Complaint (“FAC”), adding some new allegations,

9     particularly pertaining to the issues of waiver and the

10    applicability of Exclusion 7.      Doc. 25, filed Apr. 9, 2009.
11    Defendants’ renewed motion to dismiss the FAC was granted in part
12
      and denied in part.     Doc. 36.
13
            RSUI now moves for judgment on the pleadings, asserting that
14
      a waiver theory cannot create coverage “where none exists.”          Doc.
15
      40 at 3.   CDI opposes the motion.      Doc. 42.   RSUI replied.    Doc.
16

17    49.   The motion was heard March 22, 2010.

18
                                  II. BACKGROUND
19
      A.    The Underlying Gonzalez Lawsuit.
20
            On January 4, 2008, Walter Gonzalez filed a class action
21
      complaint against CDI in Tulare County Superior Court.         FAC ¶7.
22

23    The Gonzalez Complaint alleges causes of action for:         1) failure

24    to pay minimum wage; 2) failure to pay regular and overtime

25    wages; 3) failure to provide mandated meal periods or pay an
26    additional hour of wages; 4) failure to provide mandated rest
27
      periods or pay an additional hour of wages; 5) failure to
28
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1     reimburse employees for costs incurred to acquire and/or maintain
2     company-required uniforms; 6) knowing and intentional failure to
3
      comply with itemized wage statement provisions; and 7) failure to
4
      timely pay wages due at termination.       Id.    The Gonzalez Complaint
5
      also alleges that CDI violated California’s Unfair Competition
6
      Law, Cal. Bus. Prof. Code § 17200, et seq., as a result of CDI’s
7

8     alleged violations of the CLC.      Id.   No violation of the federal

9     Fair Labor Standards Act (“FLSA”) was alleged.          See id.
10
      B.    The Relevant Terms and Conditions of the Policy.
11
            CDI is the named Insured, as the “Insured Organization”
12
      under the Policy.    FAC ¶5.   Under the Policy’s Insuring Agreement
13

14    set forth at Section I(C), RSUI agrees:

15               With the Insured Organization that if a Claim for a
                 Wrongful Act is first made against the Insured
16               Organization during the Policy Period and reported in
                 accordance with SECTION V. – CONDITIONS, C. Notice of
17               Claim and Circumstance of this policy, the Insurer will
                 pay on behalf of the Insured Organization all Loss the
18               Insured Organization is legally obligated to pay.

19    See Defendant’s Request to Submit Evidence, Doc. 11, at p. 32 of
20    44 (underlined text is bold in original).
21          The Policy does not contain a duty to defend, but instead
22
      contains a duty to reimburse defense costs.          Id. at p. 11 of 44
23
      (Advancement of Defense Expenses; Insurer Has No Duty to Defend).
24
            “Insured” is defined at Section III(G) of the Policy as “any
25

26    Insured Organization and/or any Insured Person.”          Id. at p. 34 of

27    44.   “Insured Organization” is defined as “the organization named

28    in Item 1 of the Declarations Page....”          Id. (Section III(H)).
                                      3
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1     “Insured Person” is “any past, present or future director,
2     officer, trustee, Employee, volunteer, or any committee member of
3
      a duly constituted committee of the Insured Organization.”          Id.
4
      (Section III(I)).    “Employee” is defined as “any past, present or
5
      future employee of the Insured Organization....”        Id. (Section
6
      II(D)).   “Employment Practices Claim” is “any Claim alleging an
7

8     Employment Practices Wrongful Act.”       Id. at p. 33 of 44 (Section

9     II(E)).

10         An “Employment Practices Wrongful Act” is defined at Section
11    II(F) of the Policy as any actual or alleged:
12
                 1.   Wrongful dismissal, discharge or termination
13               (either actual or constructive) of employment,
                 including breach of an implied employment contract;
14
                 2.   Employment related harassment (including but not
15               limited to sexual harassment);

16               3.   Employment-related discrimination (including but
                 not limited to discrimination based on age, gender,
17               race, color, national origin, religion, sexual
                 orientation or preference, pregnancy or disability);
18
                 4.    Employment-related retaliation;
19
                 5.   Employment-related misrepresentation to an
20               Employee or applicant for employment with the Insured
                 organization;
21
                 6.   Libel, slander, humiliation, defamation or
22               invasion of privacy (solely when employment related);

23               7.    Wrongful failure to promote;

24               8.   Wrongful deprivation of career opportunity,
                 wrongful demotion or negligent Employee evaluation,
25               including giving defamatory statements in connection
                 with an Employee reference;
26
                 9.    Employment related wrongful discipline;
27
                 10.   Failure to grant tenure or practice privileges;
28
                                          4
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1                11. Failure to provide or enforce adequate and
                 consistent organization policies or procedures relating
2                to employment;
3                12. Violations of the following federal laws (as
                 amended) including all regulations promulgated
4                thereunder: a. Family and Medical leave Act of 1993; b.
                 Americans with Disabilities Act of 1992 (ADA); c. Civil
5                Rights Act of 1991; d. Age Discrimination in Employment
                 Act of 1967 (ADEA), including the Older Workers Benefit
6                Protection Act of 1990; or e. Title VII of the Civil
                 Rights Law of 1964 (as amended) and 42 U.S.C. Section
7                1983, as well as the Pregnancy Discrimination Act of
                 1978;
8
                 13. Violation of an Insured Person's civil rights
9                relating to any of the above; or
10               14. Negligent hiring, retention, training or
                 supervision, infliction of emotional distress, failure
11               to provide or enforce adequate or consistent
                 organizational polices and procedures, or violation of
12               an individual's civil rights, when alleged in
                 conjunction with respect to any of the foregoing items
13               1 through 13.
14    Id.
15    C.    The Relevant Exclusions of the Policy.
16          The Policy also contains a number of specific exclusions,
17    two of which are at issue in this case.       The Policy provides that
18
      the Insurer shall not be liable to make any payment for “Loss” in
19
      connection with any “Claim” made against the “Insured”:
20
                 4. For violation of any of the responsibilities,
21               obligations or duties imposed by the Employees
                 Retirement Income Security Act of 1974, the Fair Labor
22               Standards Act (except the Equal Pay Act), the National
                 Labor Relations Act, the Worker Adjustment and
23               Retraining Notification Act, the Consolidated Omnibus
                 Budget Reconciliation Act, the Occupational Safety &
24               Health Act, any rules or regulations of any of the
                 foregoing promulgated thereunder, and amendments
25               thereto or any similar provision of federal, state or
                 local statutory law or common law; provided this
26               EXCLUSION shall not apply to Loss arising from a Claim
                 for employment related retaliation.
27
                 ***
28
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1                 7. Brought by or on behalf of any Insured,
                  except:...(b) an Employment Practices Claim brought by
2                 an Insured Person...”
3     Id. at p. 35 of 44 (underlined words bolded in original; italic
4     emphasis added).    The Policy defines “Loss” at Section II(K) as
5
      follows:
6
                  Loss means damages (including back pay and front pay),
7                 settlement, judgments (including pre- and post-judgment
                  interest on a covered judgment) and Defense Expenses.
8                 Loss (other than Defense Expenses) shall not
                  include:... 5. Any amounts owed as wages to any
9                 Employee, other than front pay or back pay; 6. Civil or
                  criminal fines or penalties.
10
      Id. at p. 34 of 44 (underlined words bolded in original).           This
11
      makes the insurance contract a “burning limits” policy.
12

13    D.   Tender of Claim and Response Thereto.
14         On February 15, 2008, CDI tendered the Gonzalez action to
15
      RSUI pursuant to the Policy.       FAC ¶13.   On March 3, 2008, RSUI
16
      denied coverage, asserting three specific exclusionary
17
      provisions.    Id. at ¶14.   RSUI did not assert Exclusion 7 as a
18
      basis to deny coverage.      Id.   On May 5, 2008, CDI requested that
19

20    RSUI reconsider its denial of the claim.        Id. at ¶15.   On May 14,

21    2008, RSUI conceded that two of the previously asserted

22    exclusionary provisions (grounds) would not apply, absent a final
23    and specific adjudication of certain conduct as against CDI.           Id.
24
      at ¶17.    The only exclusionary provision RSUI relied on to deny
25
      coverage outright for the claim was Exclusion 4.        Id.
26

27

28
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1     E.   March 20, 2009 Dismissal With Leave to Amend.
2          On September 2, 2008, Defendant moved to dismiss the initial
3     complaint.   Doc. 10.    A March 20, 2009 Decision concluded that
4
      Exclusion 4 bars any claim based upon a CLC provision similar to
5
      those of the FLSA.    Doc. 24 at 11-24.     RSUI’s motion to dismiss
6
      was granted without leave to amend as to the first (failure to
7
      pay plaintiffs a minimum wage as required under CLC §§ 1197, 1194
8

9     and 1194.2), second (failure to pay regular and overtime wages in

10    violation of CLC §§ 200, 204, 500, 510, 512, and 1194, and

11    section 3 of Industrial Welfare Commission (“IWC”) Wage Order 8),
12    third and fourth (failure to provide meal and rest periods or pay
13
      an additional hour of wages based on CLC §§ 226.7 and 512, and
14
      Section 11 of IWC Wage Order 8) causes of action in the Gonzalez
15
      complaint.   Id. at 25-35.    RSUI’s motion to dismiss was denied as
16
      to the applicability of Exclusion 4 to the fifth (failure to
17

18    reimburse employees for costs incurred to acquire and/or maintain

19    company-required uniforms in violation of CLC § 2802 and Section
20    9 of Wage Order 8), sixth (failure to comply with the itemized
21
      wage statement provisions contained in CLC §§ 226, 1174(d), and
22
      1174.5, as well as Section 7 of Wage Order 8), and seventh
23
      (failure to pay wages due at termination, a claim founded upon
24
      CLC §§ 201, 202, and 203) causes of action in the Gonzalez
25

26    complaint.   Id. at 35-39.

27         As to the applicability of Exclusion 7, CDI’s argument was

28
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1     rejected that RSUI should be estopped from asserting Exclusion 7
2     to deny coverage, because Exclusion 7 was not mentioned in the
3
      insurer’s final denial of coverage letter.        To demonstrate
4
      estoppel:
5
                   “(1) [T]he party to be estopped must know the facts;
6                  (2) he must intend that his conduct shall be acted
                   upon, or must so act that the party asserting the
7                  estoppel had the right to believe that it was so
                   intended; (3) the party asserting the estoppel must be
8                  ignorant of the true state of facts; and, (4) he must
                   rely upon the conduct to his injury”. Spray, Gould &
9                  Bowers v. Assoc. Intern. Ins. Co., 71 Cal. App. 4th
                   1260, 1262 (1990). Application of estoppel in the
10                 insurance context typically arises from some
                   affirmative, misleading conduct on the part of the
11                 insurer. Spray, 71 Cal. App. 4th at 1268. Absent such
                   affirmative conduct, estoppel may arise from silence
12                 when the party has a duty to speak, such as where a
                   legal obligation requires disclosure. Id.
13
      Id. at 40.
14
           Although CDI alleged that RSUI violated California’s Fair
15

16    Claims Practices Regulations by failing to articulate all bases

17    for denial of coverage in the final denial letter, id. at 40-42,

18    this did not establish estoppel, nor an affirmative claim.          It
19    only establishes RSUI’s failure to disclose:
20
                   To establish estoppel, CDI must also demonstrate that
21                 it reasonably relied to its detriment on the assertions
                   RSUI made in its final denial of coverage. The
22                 Complaint contains no relevant allegations, and RSUI
                   argues that CDI cannot allege reasonable detrimental
23                 reliance because RSUI denied coverage from the outset
                   on alternative grounds.
24
      Id. at 42.
25
           CDI requested, and was granted, an opportunity to amend its
26
      complaint, to “consistent with Federal Rule of Civil Procedure
27

28
      11, allege the remaining elements of estoppel.”        Id.   However, at
                                          8
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1     oral argument CDI’s counsel acknowledged it was not pursuing an
2     estoppel theory.
3
           A footnote also addressed CDI’s alternative argument that
4
      RSUI’s failure to assert Exclusion 7 in its final denial of
5
      coverage decision constitutes a waiver of its rights to do so in
6
      this litigation:
7

8                To demonstrate waiver, the insured bears the burden of
                 proof to demonstrate that the carrier intentionally
9                relinquished a right or that the carrier’s acts are so
                 inconsistent with an intent to enforce the right as to
10               induce a reasonable belief that such right has been
                 relinquished. Waller v. Truck Insurance Exchange,
11               Inc., 11 Cal.4th 1, 33-34 (1995). The Waller Court
12               held:

13                     holding that an insurer waives defenses not
                       asserted in its initial denial of a duty to defend
14                     would be inconsistent with established waiver
                       principles by erroneously implying an intent to
15                     relinquish contract rights where no such intent
                       existed. Such a conclusion would contradict the
16                     holdings of the majority of California and sister-
                       state cases addressing the waiver issue.
17
                 Id. at 33.  CDI fails to explain how its waiver theory
18               can be reconciled with the holding in Waller.

19    Id. at 42-43 n.3.    Additionally, anti-waiver language is included

20    in the original letter.     Doc. 26-2, Ex. B, at 3.

21         In the absence of estoppel or waiver, the district court
22    rejected CDI’s argument that the allegations in the Gonzalez
23
      complaint concerning denial of mandated meal periods, rest
24
      periods, reimbursement for employee uniforms, and wages due at
25
      termination, involve “Employment Practices Wrongful Acts” because
26

27    they “reflect employment misrepresentations to employees that

28    Plaintiff would comply with the law regarding such benefits,”
                                      9
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1     and/or “involve a failure to enforce adequate or consistent
2     organizational polices relating to employment.”         Id. at 45.
3
                  CDI’s assertion that the CLC violations alleged in the
4                 Gonzalez complaint should be viewed as “employment-
                  related misrepresentations” is a strained
5                 interpretation of the Policy language in light of the
                  facts presented. The Gonzalez action is limited to
6                 allegations based upon the failure to pay wages and
                  related benefits. The Gonzalez complaint does not
7                 allege any misrepresentations by CDI, nor is
                  misrepresentation a required element of any of the
8                 Gonzalez causes of action, all of which relate to wage
                  and hour conditions of employment.
9
                  The same conclusion applies to CDI’s argument that the
10                Gonzalez allegations involve failures “to enforce
                  adequate or consistent organization[al] polices
11                relating to employment.” The underlying complaint does
                  not mention or concern internal organizational policies
12                at CDI. CDI’s interpretation of this language in the
                  exception to Exclusion 7 is without limitation, as the
13                Exclusion 7 exception would be triggered for any claims
                  brought by employees against CDI, because any allegedly
14                wrongful act by an employer vis-a-vis an employee could
                  be the subject of an internal organizational policy.
15                This is not what the Policy intended, or it would have
                  included a blanket exception from Exclusion 7 for
16                claims brought by Employees against an Insured.

17                The Gonzalez Complaint contains no allegations related
                  to any misrepresentations, failures to provide and/or
18                enforce company rules, negligence, or civil rights
                  violations. The exception for “Employment Practices
19                Wrongful Acts” provided under Exclusion 7 does not here
                  apply. Accordingly, Exclusion 7 bars coverage for all
20                of the CLC claims in the Gonzalez lawsuit, as they are
                  between Insureds and do not qualify as “Employment
21                Practices Wrongful Acts.”

22    Id. at 45-46.    Application of Exclusion 7 eliminated all of

23    Plaintiff’s CLC claims.      RSUI’s motion to dismiss based on the

24    application of Exclusion 7 was granted with leave to amend.
25          Finally, the eighth cause of action in Gonzalez, which
26
      alleges that CDI violated the Unfair Competition Law (“UCL”) as a
27
      result of the failure to comply with various provisions of the
28
                                          10
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1     CLC, was dismissed with leave to amend.        Id. at 47-48.     Because
2     the UCL “borrows” violations from other laws by making them
3
      independently actionable as unfair competitive practices, Korea
4
      Supply Co. v. Lockheed Martin Corp., 29 Cal. 4th 1134, 1144
5
      (2003), any “Loss” under the UCL would “necessarily result from
6
      any underlying CLC violations.”       As RSUI was absolved of the
7

8     responsibility to provide coverage for the other causes of action

9     in the Gonzalez lawsuit, no UCL claim could exist.         Id.
10
      F.    August 11, 2009 Dismissal With Leave to Amend.
11
            Plaintiffs filed the FAC on April 9, 2009.        In response to
12
      Defendants’ motion to dismiss the FAC, Plaintiff’s counsel
13

14    conceded that no estoppel-related allegations are contained in

15    the FAC.    Doc. 36 at 12.

16          As to implied waiver, the FAC contained new allegations that
17    Defendant impliedly waived its right to rely on Exclusion 7.          The
18
      district court articulated the relevant standard:
19
                  To demonstrate waiver, the insured bears the burden of
20                proof to demonstrate that the carrier intentionally
                  relinquished a right or that the carrier’s acts are so
21                inconsistent with an intent to enforce the right as to
22                induce a reasonable belief that such right has been
                  relinquished. Waller v. Truck Insurance Exchange,
23                Inc., 11 Cal. 4th 1, 33-34 (1995)[:]

24                     holding that an insurer waives defenses not
                       asserted in its initial denial of a duty to defend
25                     would be inconsistent with established waiver
                       principles by erroneously implying an intent to
26                     relinquish contract rights where no such intent
                       existed. Such a conclusion would contradict the
27                     holdings of the majority of California and sister-
                       state cases addressing the waiver issue.
28
                                          11
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1                 Id. at 33.
2     Id. at 12-13.
3           The district court rejected CDI’s argument that an implied
4
      waiver could arise by virtue of Defendants’ alleged violation of
5
      California’s Fair Claim Practices Regulations (“CFCPRs”), which,
6
      among other things requires insurers to provide written
7
      explanations of the bases for denying claims, but do not create
8

9     enforceable claims for damages.       Id. at 13-16.

10          However, CDI also argued that the FAC satisfies the Waller

11    implied waiver standard, which requires conduct “so inconsistent
12    with an intent to enforce the right as to induce a reasonable
13
      belief that such right has been relinquished.”
14
            The FAC alleges:
15
                  18. At the time RSUI made its final decision to deny
16                coverage it was aware that, with respect to the
                  handling and adjustment of claims in the state of
17
                  California, it was obligated to comply with the
18                mandatory provisions of the California Fair Claim
                  Practices and Settlement Act, 10 C.C.R. §2695.1, et
19                seq.
20                19. Upon information and belief, CALIFORNIA DAIRIES
                  alleges that at the time RSUI made its final decision
21
                  to deny coverage, it was aware that the California Fair
22                Claims and Settlement Practices Regulations,
                  specifically 10 C.C.R. §2695.7(b)(1) required RSUI to
23                set forth in writing to CALIFORNIA DAIRIES a statement
                  listing all bases for such denial, which would include
24                reference to any and all potentially applicable
                  coverage provisions of its policy.
25
                  20. Upon information and belief, CALIFORNIA DAIRIES
26                alleges that at the time RSUI made its final decision
                  to deny coverage, it was aware that under 10 C.C.R.
27                §2695.6(b), it was required to provide thorough and
                  adequate training regarding the California Fair Claims
28
                                          12
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1                 and Settlement Practices Regulations to its agents
                  involved with the handling and adjustment of claims so
2                 that they would be fully and completely familiar with
                  all provisions of the regulations.
3
                  21. Upon information and belief, CALIFORNIA DAIRIES
4                 alleges that because of the mandatory provisions
                  provided by the California Fair Claims and Settlement
5                 Practices Regulations, RSUI trained its representatives
                  involved with the handling and adjusting of claims,
6                 that the failure to set forth specifically all coverage
                  provisions potentially applicable as a basis for
7                 denying coverage, in the written denial letter mandated
                  by the California Insurance Regulations, would and
8                 could constitute a waiver of RSUI’s right to
                  subsequently assert additional coverage provisions as a
9                 basis to deny coverage.
10                22. Upon information and belief, CALIFORNIA DAIRIES
                  alleges that based on the mandatory provisions of the
11                California Insurance Regulations, RSUI trained its
                  representatives involved with the handling and
12                adjustment of insurance claims, that it would be
                  inconsistent with RSUI’s understanding of the
13                regulations and RSUI’s rights, for RSUI to attempt to
                  assert a denial of coverage on a basis which RSUI knew
14                or should have known at the time it issued its final
                  written denial letter, but which RSUI failed to assert
15                or identify at the time it issued its final written
                  denial letter.
16
            Assuming, the truth of these allegations, as is required on
17
      a motion to dismiss, the August 11, 2009 Decision reasoned:
18

19                [I]f RSUI trained its representatives that failure to
                  include all potentially applicable coverage provisions
20                in a denial letter could constitute a waiver of RSUI’s
                  right to subsequently assert any omitted bases for
21                denying coverage, RSUI’s failure to include Exclusion 7
                  in the final denial letter arguably constitutes conduct
22                “so inconsistent with an intent to enforce” Exclusion 7
                  so as to “induce a reasonable belief that such right
23                has been relinquished.”

24    Id. at 17-18.

25          RSUI argued that CDI could not have reasonably believed that

26    RSUI intended to relinquish its right to assert Exclusion 7
27    because the denial letter specifically states that “nothing in
28
                                          13
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1     this letter nor any action taken by us in connection with this
2     matter should be construed as an admission of coverage or waiver
3
      of any right RSUI might have at law or under the policy.”            See
4
      Doc. 26-2, Ex. B, at 3.
5
            The district court rejected RSUI’s argument, concluding that
6
      the existence of conduct “so inconsistent with an intent to
7

8     enforce the right as to induce a reasonable belief that such

9     right has been relinquished,” presented a question of fact to be

10    determined by the jury:
11                 “Whether there has been a waiver is usually regarded as
                   a question of fact to be determined by the jury....”
12                 Old Republic Ins. Co v. FSR Brokerage, Inc., 80 Cal.
                   App. 4th 666, 679 (2000). In deciding whether to grant
13                 a motion to dismiss, the court “accept [s] all factual
                   allegations of the complaint as true and draw[s] all
14                 reasonable inferences” in the light most favorable to
                   the nonmoving party. TwoRivers, 174 F.3d at 991. RSUI
15                 is correct that a court is not “required to accept as
                   true allegations that are merely conclusory,
16                 unwarranted deductions of fact, or unreasonable
                   inferences.” See Sprewell v. Golden State Warriors,
17                 266 F.3d 979, 988 (9th Cir. 2001). Here, however, it
                   is not unreasonable to infer from the allegations of
18                 the FAC that a waiver occurred. Although the
                   allegations are not particularly robust, as they are on
19                 information and belief, the complaint “contain[s]
                   sufficient factual matter, accepted as true, to ‘state
20                 a claim to relief that is plausible on its face.’”
                   Iqbal, 129 S. Ct. at 1949.
21
      Id. at 18.
22

23                          III. STANDARD OF DECISION
24          A party may move for judgment on the pleadings after the
25
      pleadings are closed.     Fed. R. Civ. P. 12(c).      A Rule 12(c)
26
      motion challenges the legal adequacy of the opposing party's
27
      pleadings.    Westlands Water Dist. v. Bureau of Reclamation, 805
28
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1     F. Supp. 1503, 1506 (E.D. Cal. 1992).       In deciding a motion for
2     judgment on the pleadings, a court must “must accept all factual
3
      allegations in the complaint as true and construe them in the
4
      light most favorable to the non-moving party.”         Fleming v.
5
      Pickard, 581 F.3d 922, 925 (9th Cir. 2009).        “[T]he allegations
6
      of the moving party which have been denied are assumed to be
7

8     false.”   Hal Roach Studios, Inc. v. Richard Feiner & Co., 896

9     F.2d 1542, 1550 (9th Cir. 1990).

10          “Judgment on the pleadings is properly granted when there is
11    no issue of material fact in dispute, and the moving party is
12
      entitled to judgment as a matter of law.”        Fleming, 581 F.3d 922.
13
      Judgment on the pleadings is not appropriate if the court “goes
14
      beyond the pleadings to resolve an issue; such a proceeding must
15

16
      properly be treated as a motion for summary judgment.”          Hal Roach

17    Studios, 896 F.2d at 1550.      “A court may, however, consider

18    certain materials-documents attached to the complaint, documents
19    incorporated by reference in the complaint, or matters of
20
      judicial notice-without converting the motion to dismiss [or
21
      motion for judgment on the pleadings] into a motion for summary
22
      judgment.”    2009 WL 2871532, 342 F.3d 903, 908 (9th Cir. 2003);
23
      see also Summit Media LLC v. City of Los Angeles, 530 F. Supp. 2d
24

25    1084, 1096 (C.D. Cal. 2008).

26

27

28
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1                                  IV. DISCUSSION
2           This motion for judgment on the pleadings presents two,
3     seemingly distinct lines of authority.        The first, relied upon by
4
      RSUI, suggests that, as a matter of law, waiver cannot be used
5
      “to bring within the coverage of a policy risks not covered by
6
      its terms, or risks expressly excluded therefrom.”         The second,
7
      relied upon by CDI and the Waller case cited in the March 20, and
8

9     August 11, 2009 Memoranda Decisions, provides that waiver may

10    apply whenever a party’s acts are “inconsistent with an intent to

11    enforce the right as to induce a reasonable belief that such
12    right has been relinquished.”
13

14    A.    Caselaw Suggesting Waiver Cannot Be Used to Bring Within The
            Coverage of a Policy Risks Not Covered by or Expressly
15          Excluded from its Terms.

16          The central premise of RSUI’s motion for judgment on the

17    pleadings is that, even assuming the facts alleged in the

18    complaint demonstrate conduct “so inconsistent with an intent to
19    enforce [Exclusion 7] as to induce a reasonable belief that such
20
      right has been relinquished,” an insurer cannot, as a matter of
21
      law, waive the right to apply an exclusionary provision, which
22
      would otherwise prevent coverage from arising where the insurance
23

24    contract does not include a risk within the insuring agreement.

25          In Aetna Casualty & Surety Co. v. Richmond, 76 Cal. App. 3d

26    645, 648 (1977), the insured, an owner of a sporting goods store,
27    was sued by a patron who suffered injuries when her ski bindings,
28
                                          16
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1     adjusted by the insured, failed to release during a fall.            The
2     insurance company defended the action under a reservation of
3
      rights that stated:     “This Company will provide a defense for you
4
      as per the terms of the insurance policy, but this Company does
5
      not waive any of its Rights under the terms, conditions and
6
      provisions of the insurance policy.       Therefore, if a judgment is
7

8     entered against you for damages that are not covered under the

9     policy, this Company will not be responsible for that judgment.”

10    Id. at 649-50.      The insurer later sought declaratory relief that
11    it had no duty to defend or indemnify the insured because the
12
      policy expressly excluded claims for products liability.             Id. at
13
      648-49.
14
            The insured argued that, by defending the action, Aetna
15

16
      waived the benefit of any exclusionary clauses.          Id. at 652-53.

17    The Aetna court rejected this argument, reasoning:

18                The rule is well established that the doctrines of
                  implied waiver and of estoppel, based upon the conduct
19                or action of the insurer, are not available to bring
                  within the coverage of a policy risks not covered by
20                its terms, or risks expressly excluded therefrom, and
                  the application of the doctrines in this respect is
21                therefore to be distinguished from the waiver of, or
                  estoppel to assert, grounds of forfeiture....
22
      Id.
23
            Similarly, Manneck v. Lawyers Title Insurance Corp., 28 Cal.
24

25    App. 4th 1294, 1298 (1994), concerned a title insurance policy

26    purchased by the insureds at the time they acquired their home.

27    When the insureds discovered that the home’s swimming pool and
28
                                          17
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1     deck encroached onto a neighbor’s property, they notified their
2     insurer of the problem.      Id.   The insurance company defendant
3
      sent plaintiffs a letter in which it explained that coverage is
4
      only provided if plaintiffs are forced to remove an existing
5
      structure.    As “there [was] no such impending removal,” the
6
      letter explained that “there is technically no coverage.”            Id.
7

8     Nevertheless, the insurance agent explained that “as a courtesy

9     to you, [he had] been attempting to resolve the matter....”

10    informally.    Id.
11          Manneck held that the insurer’s conduct could not possibly
12
      constitute waiver, citing the rule from Aetna that “the doctrines
13
      of implied waiver and of estoppel, based upon the conduct or
14
      action of the insurer, are not available to bring within the
15
      coverage of a policy risks not covered by its terms, or risks
16

17    expressly excluded therefrom....”        Id. at 1302

18          Even more directly on point is R & B Auto Center, Inc. v.
19    Farmers Group, Inc., 140 Cal. App. 4th 327 (2006), which
20
      concerned a “lemon law” insurance policy held by a car
21
      dealership.    The dealership was sued by a purchaser of a used car
22
      under the lemon law and tendered the suit to its insurance
23
      carrier.    The carrier refused coverage because the policy, by its
24

25    terms, only applied to the sale of new vehicles.         The dealership

26    sued the insurance carrier on numerous coverage-related theories,

27    but did not initially include a claim for waiver.
28
                                          18
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1           On the eve of trial, the dealership sought to amend its
2     complaint to add a waiver claim.         The dealership maintained that
3
      the insurer “deliberately chose not to deny either the duty to
4
      defend or the duty to indemnify, leaving the coverage
5
      determination up in the air, despite a regulatory requirement
6
      [contained in the CFCPR, 10 Cal. Code Regs. § 2695.7(b)] that the
7

8     insurer either defend or deny coverage.”         Id. at 351.   The dealer

9     argued that the failure to comply with the procedural

10    requirements of the CFCPRs, demonstrated that the insurer “waived
11    the right to deny coverage....”       Id.
12
            In support of is waiver argument, R & B cited Chase v. Blue
13
      Cross of California, 42 Cal. App. 4th 1142, 1148 (1996), which
14
      concerned an insured’s assertion that the defendant insurer had
15
      forfeited the right to invoke a policy’s arbitration clause.         In
16

17    Chase, the appellate court held that an insurer could waive a

18    contractual right under certain circumstances and remanded the
19    matter to the trial court for a determination of whether the
20
      insurer had indeed forfeited the right to invoke the arbitration
21
      clause on the facts of the case.
22
            R & B distinguished Chase, reasoning that the waiver alleged
23
      by the dealership “[did] not involve the forfeiture of a
24

25    contractual right under the policy.         Rather, it involve[d] the

26    use of the theories of waiver and estoppel to create coverage

27    where none otherwise exists -- that is, to create an otherwise
28
                                          19
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1     nonexistent written contract providing lemon law coverage for
2     used car sales, in order to use the newly created contract as the
3
      basis for a claim of breach.      The distinction is key.”      Id. at
4
      352 (emphasis added).     Citing Aetna, R & B reiterated that waiver
5
      may not be used to create coverage where a risk is “expressly
6
      excluded.”     Id.
7

8           CDI attempts to distinguish Aetna and its progeny.         First,

9     CDI argues that, despite relying on the general rule that waiver

10    and estoppel cannot be used to create coverage, Manneck
11    “ultimately found that the insured had provided no facts to
12
      establish a basis for waiver or estoppel.”        Doc. 42 at 10.     This
13
      is an inaccurate description of Manneck’s reasoning.          Although
14
      Manneck did evaluate whether plaintiffs had established reliance,
15
      an element of estoppel, Manneck did not evaluate whether there
16

17    were facts to support a waiver claim, finding any factual inquiry

18    “of no consequence because of the inapplicability of the
19    doctrines of estoppel or waiver” to create coverage where none
20
      was provided by the contract.      The entire relevant paragraph
21
      reads:
22
                   [C]ontrary to plaintiffs' assertion, coverage under an
23                 insurance policy cannot be established by estoppel or
                   waiver. “The rule is well established that the
24                 doctrines of implied waiver and of estoppel, based upon
25                 the conduct or action of the insurer, are not available
                   to bring within the coverage of a policy risks not
26                 covered by its terms, or risks expressly excluded
                   therefrom, and the application of the doctrines in this
27                 respect is therefore to be distinguished from the
                   waiver of, or estoppel to assert, grounds of
28
                                          20
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1                 forfeiture....” Aetna Casualty & Surety Co. v. Richmond
                  (1977) 76 Cal. App. 3d 645, 653.) Accordingly,
2                 plaintiffs' reliance on the fact that defendant's staff
                  attorney who handled plaintiffs’ claim testified that
3
                  he never reserved rights or denied coverage and that he
4                 acted consistent with the contractual duties of the
                  insurer in the event of a claim for which the defendant
5                 might have been liable, not only fails to establish the
                  prerequisite element of reliance for the doctrine of
6                 estoppel (see Equitable Life Assurance Society v.
                  Berry, supra, 212 Cal. App. 3d at p. 842), but most
7                 significantly is of no consequence because of the
8                 inapplicability of the doctrines of estoppel or waiver.

9     28 Cal. App. 4th at 1303 (emphasis added).

10          CDI further attempts to distinguish Manneck and R & B on
11    their facts.    Doc. 42 at 10-11.     For example, in Manneck, the
12
      insureds were repeatedly advised, in writing, of the controlling
13
      coverage defenses.     In R & B, the insureds were never issued a
14
      denial letter that left out one particular basis for denying
15
      coverage, while asserting others.        Here, by contrast, RSUI’s
16

17    final denial letter was based solely on Exclusion 4.         However,

18    Aetna, Manneck, and R & B suggest that these are distinctions
19    without a difference because an insured is barred as a matter of
20
      law from asserting that an insurer impliedly waived an
21
      exclusionary provision, regardless of the operative facts, in the
22
      face of an express exclusion.
23

24    B.    Caselaw suggesting Waiver May Apply Whenever a Party’s Acts
            Are “So Inconsistent with an Intent to Enforce the Right as
25          to Induce a Reasonable Belief that Such Right has been
            Relinquished.”
26
            The California Supreme Court’s decision in Waller v. Truck
27

28    Insurance Exchange, Inc., 11 Cal. 4th 1 (1995), undermines RSUI’s
                                          21
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1     reliance on Aetna, Manneck, and R & B, as a basis for dismissal.
2     Waller concerned a commercial general liability (“CGL”) policy
3
      that provided coverage for bodily injury or property damage
4
      caused by the insured’s act or omission.        Id. at 11.   A former
5
      executive sued the insured for, among other things, economic
6
      losses and emotional distress stemming from a demotion.          See id.
7

8     at 11-12.    The insured tendered the lawsuit to Truck Insurance

9     Exchange (“TIE”) under the CGL policy, but TIE denied coverage,

10    asserting in its denial letter that the lawsuit was “essentially
11    a shareholder dispute” that involved uncovered “intentional
12
      acts.”     Id. at 31.   The Appellate and Supreme Courts concluded
13
      that the executive’s claims of emotional distress were arguably
14
      covered by the bodily injury language in the CGL policy, but for
15
      the fact that such policies are “not intended to cover economic
16

17    losses.”     Id. at 15.   As the executive’s claims of emotional

18    distress “flowed from” an underlying claim of economic loss,
19    those claims were not covered either.       Id. at 15-16.
20
            However, TIE’s initial denial letter failed to specifically
21
      explain that the policy did not cover “economic losses.”
22
      Accordingly, the insured asserted that TIE waived its right to
23
      argue non-coverage for claims related to “economic loss.”            The
24

25    Waller court defined the key inquiry as follows:

26                 In essence, we are asked to consider whether the
                   doctrine of waiver may be invoked to create coverage
27                 for losses that the CGL policy by its terms did not
                   cover.
28
                                          22
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1     Id. at 31.
2           Waller then reviewed the general rules on the subject of
3
      waiver:
4
                   Case law is clear that waiver is the intentional
5                  relinquishment of a known right after knowledge of the
                   facts. The burden is on the party claiming a waiver of
6                  a right to prove it by clear and convincing evidence
                   that does not leave the matter to speculation, and
7                  doubtful cases will be decided against a waiver.
8                  Waiver always rests upon intent. The waiver may be
                   either express, based on the words of the waiving
9                  party, or implied, based on conduct indicating an
                   intent to relinquish the right.
10
                   ...California courts have applied the general rule that
11                 waiver requires the insurer to intentionally relinquish
12                 its right to deny coverage and that a denial of
                   coverage on one ground does not, absent clear and
13                 convincing evidence to suggest otherwise, impliedly
                   waive grounds not stated in the denial.
14
      Id. at 31-32 (internal citations and quotations omitted; emphasis
15
      added).
16

17          Guided by the general rule that “a denial of coverage on one

18    ground does not, absent clear and convincing evidence to suggest
19    otherwise, impliedly waive grounds not stated in the denial,”
20
      Waller rejected the insured’s reliance on dictum from McLaughlin
21
      v. Connecticut General Life Ins. Co., 565 F. Supp. 434, 451 (N.D.
22
      Cal. 1983), that suggested “an insurance company which relies on
23
      specified grounds for denying a claim” automatically waives “the
24

25    right to rely in a subsequent litigation on any other grounds

26    which a reasonable investigation would have uncovered.”          Instead,

27    Waller followed Intel Corp. v. Hartford Acc. & Indem. Co., 952
28
                                          23
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1     F.2d 1551, 1559 (9th Cir. 1991), which rejected application of an
2     automatic waiver rule and determined that under California law,
3
      an insurer waives defenses to coverage not asserted in its denial
4
      only if the insured can show misconduct by the insurer or
5
      detrimental reliance by the insured:
6
                  T.I.E. and Farmers assert McLaughlin [] has been
7                 superseded by the Ninth Circuit decision in Intel []
8                 which concluded that “in McLaughlin it was necessary to
                  find waiver to protect insureds who had been misled by
9                 the insurer's statements as to the denial of coverage.”
                  (Intel, supra, 952 F.2d at p. 1560.) Nonetheless, the
10                Intel court rejected application of an automatic waiver
                  rule and determined that under California law, an
11                insurer waives defenses to coverage not asserted in its
12                denial only if the insured can show misconduct by the
                  insurer or detrimental reliance by the insured.
13                (Ibid.....)....

14                We agree with Intel, supra, 952 F.2d at page 1559, and
                  decline to follow the McLaughlin rule of automatic
15                waiver. A holding that an insurer waives defenses not
                  asserted in its initial denial of a duty to defend
16
                  would be inconsistent with established waiver
17                principles by erroneously implying an intent to
                  relinquish contract rights where no such intent
18                existed. Such a conclusion would contradict the
                  holdings of the majority of California and sister-state
19                cases addressing the waiver issue. (See, e.g.,
                  Velasquez v. Truck Ins. Exchange, supra, 1 Cal.App.4th
20
                  712, 722.)
21
                  As the Intel court recognized, in the insurance context
22                the terms “waiver” and “estoppel” are sometimes used
                  interchangeably, even though estoppel requires proof of
23                the insured's detrimental reliance. (Intel, supra, 952
                  F.2d at p.1560.) Nonetheless, as the Intel court
24                observed, “[w]aiver is an affirmative defense, for
25                which the insured bears the burden of proof,” and
                  “California courts will find waiver when a party
26                intentionally relinquishes a right or when that party's
                  acts are so inconsistent with an intent to enforce the
27                right as to induce a reasonable belief that such right
                  has been relinquished.” (Id. at p. 1559.)
28
                                          24
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1

2     Id. at 33-34.    Applying this standard from Intel, Waller found
3
      that TIE’s denial letter did not show any intent to relinquish
4
      the right to assert the “economic loss” rationale:
5
                  The present facts do not show that T.I.E.'s denial
6                 letter indicated an intention on the part of the
                  insurer to relinquish additional reasons for denial of
7                 a duty to defend. Nor have plaintiffs shown that
8                 T.I.E.'s actions following its defense denial were
                  inconsistent with its intent to enforce the terms of
9                 the policy. Accordingly, plaintiffs have not shown that
                  T.I.E.'s denial of a defense induced a reasonable
10                belief in plaintiffs that T.I.E. intended to waive
                  additional policy defenses.
11

12    Id. at 34. 1

13          R & B, the only case cited by CDI that post-dates Waller,

14    does not explicitly apply Waller’s generic rule that courts
15    should “find waiver when a party intentionally relinquishes a
16

17          1
             In response to CDI’s reliance on Waller, RSUI argues that
18    California courts have only found two exceptions to Aetna’s
      holding that waiver cannot be used to bring “within the coverage
19    of a policy risks not covered by its terms, or risks explicitly
      excluded therefrom.” 76 Cal. App. 3d at 653. The first such
20    exception, according to RSUI allows implied waiver to operate
      when an insurer fails to assert a ground for forfeiture. See
21
      e.g., Elliano v. Assurance Co. of Am., 3 Cal. App. 3d 446 (197)
22    (insurer waived requirement that insured submit formal proof of
      loss). The second exception cited by RSUI permits the doctrine
23    of implied waiver to create coverage where an insurer provides an
      unconditional defense to its insured. See, e.g., Miller v. Elite
24    Ins. Co., 100 Cal. App. 3d 739 (1980) (applying a test akin to
      estoppel to find that an insurer’s unconditional defense to an
25    action constituted a waiver of the terms of the policy).
26         But, RSUI essentially ignores Waller itself, which concerned
      the application of waiver to an exclusionary provision. 11 Cal.
27    4th at 34. Although Waller ultimately concluded waiver was not
      established, it expressly relied upon rule that expressly permits
28    waiver to operate under certain circumstances
                                      25
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1     right or when that party's acts are so inconsistent with an
2     intent to enforce the right as to induce a reasonable belief that
3
      such right has been relinquished.”       Rather R&B relied on the 1994
4
      appellate court decision in Mannek for the proposition that
5
      implied waiver cannot, as a matter of law, ever be used to “bring
6
      within the coverage of a policy ... risks expressly excluded
7

8     therefrom....”    140 Cal. App. 4th at 352 (citing Manneck, 28 Cal.

9     App. 4th at 1303).

10          This use of Manneck is arguably in conflict with Waller, a
11    1995 decision of the California Supreme Court.         Waller, a case
12
      about the application of waiver to an exclusionary provision,
13
      expressly permitted waiver to operate under certain
14
      circumstances.    11 Cal. 4th at 34.     Although Waller concluded on
15
      summary judgment that waiver was not established under the
16

17    particular circumstances of that case, it suggests that whether

18    waiver applies to an exclusionary provision is a question of fact
19    that cannot be decided on the pleadings.
20

21    C.    Assuming, Arguendo, that Implied Waiver Can Create Coverage
            for Risks Specifically Excluded, Did RSUE Impliedly Waive
22          the Right to Assert Exclusion 7?

23          In an argument raised for the first time in its reply brief,

24    RSUI maintains that, even if implied waiver can be applied to

25    prevent the assertion of an exclusionary provision, RSUI did not
26    impliedly waive its right to assert Exclusion 7 in this case.
27
      Specifically, RSUI argues that CDI has failed to allege any facts
28
                                          26
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1     that could support a finding that RSUI’s failure to assert
2     Exclusion 7 would induce a reasonably belief that they intended
3
      to relinquish the right to assert that Exclusion, because RSUI
4
      expressly reserved all rights under the policy.
5
            The SAC alleges: (1) that RSUI had an internal policy that
6
      the failure to set forth specifically all potentially applicable
7

8     policy provisions that could form a basis for denying coverage

9     would and could constitute a waiver of RSUI’s right to

10    subsequently assert such policy provisions as a basis for denying
11    coverage; and (2) it would be inconsistent with RSUI’s
12
      understanding of the applicable regulations and RSUI’s rights for
13
      RSUI to attempt to assert an exclusion as a basis for denying
14
      coverage if RSUI knew of, but failed to assert, that exclusion at
15
      the time it issued its final written denial letter.         FAC ¶¶ 18-
16

17    22.

18          RSUI rejoins that these allegations do not establish that a
19    reasonable person would be induced to believe RSUI intended to
20
      relinquish its right to assert Exclusion 7.        The August 11, 2009
21
      Decision explained that the insured’s intent with respect to
22
      waiver is normally a question of fact to be determined by the
23
      jury:
24

25                “Whether there has been a waiver is usually regarded as
                  a question of fact to be determined by the jury....”
26                Old Republic Ins. Co v. FSR Brokerage, Inc., 80 Cal.
                  App. 4th 666, 679 (2000). In deciding whether to grant
27                a motion to dismiss, the court “accept [s] all factual
                  allegations of the complaint as true and draw[s] all
28                reasonable inferences” in the light most favorable to
                                        27
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1                  the nonmoving party. TwoRivers, 174 F.3d at 991. RSUI
                   is correct that a court is not “required to accept as
2                  true allegations that are merely conclusory,
                   unwarranted deductions of fact, or unreasonable
3                  inferences.” See Sprewell v. Golden State Warriors,
                   266 F.3d 979, 988 (9th Cir. 2001). Here, however, it
4                  is not unreasonable to infer from the allegations of
                   the FAC that a waiver occurred. Although the
5                  allegations are not particularly robust, as they are on
                   information and belief, the complaint “contain[s]
6                  sufficient factual matter, accepted as true, to ‘state
                   a claim to relief that is plausible on its face.’”
7                  Iqbal, 129 S. Ct. at 1949.
8     Doc. 36 at 18.
9             RSUI suggests that its inclusion of “strongly worded anti-
10
      waiver language in its first letter....necessarily and absolutely
11
      preclude[s] a reasonable person from believing that RSUI intended
12
      to relinquish its rights to assert Exclusion 7 inasmuch as the
13
      use of such language would have contradicted the internal
14

15    policies that CDI alleges existed.”       Doc. 49 at 6.    RSUI’s

16    argument continues:

17                 [T]he use of anti-waiver language in the first denial
                   letter would necessarily contradict [the] purported
18                 internal policy that the failure to raise a specific
19                 ground for denial of coverage could result in waiver
                   since RSUI specifically invoked its right to raise
20                 additional grounds for coverage.”

21    Id.
22            RSUI cites Waller, 11 Cal. 4th 1, and Westoil Terminals,
23
      Inc. v. Industrial Indemnity Co., 110 Cal. App. 4th 139 (2003),
24
      for the proposition that “the use of anti-waiver language
25
      necessarily precludes the finding of implied waiver.”          Doc. 49.
26
      at 7.     Waller’s discussion of waiver actually contains language
27

28    that suggests exactly the opposite:
                                      28
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1                 We address this issue, notwithstanding the antiwaiver
                  clause in T.I.E.'s policy. That clause states the
2                 insurer does not waive rights or terms under the policy
                  in the absence of an endorsement and focuses on the
3
                  terms and conditions of the policy itself, rather than
4                 on the insurer's claims practices. In sum, the clause
                  does not affect the insured's right to assert waiver of
5                 defenses in a denial letter.

6     11 Cal. 4th at 31.
7           Although Westoil does conclude that the insurer’s
8
      reservation of rights “evidence[d] its intent not to waive any
9
      defense....,” it did so in the context of an examination of all
10
      the evidence in the case.      110 Cal. App. 4th at 151.     Only after
11

12    finding that no other evidence in the appellate record supported

13    a finding of waiver did Westoil conclude waiver did not apply.

14    Contrary to RSUI’s contention, the use of anti-waiver language
15    was not dispositive.     RSUI’s intent is a question of fact that
16
      cannot be resolved on the present record.
17

18    D.    Other Issues Raised By CDI.

19          CDI also attempts to revisit issues decided in previous

20    motions to dismiss.     For example, CDI argues that the CFCPRs
21    “were adopted to set forth minimum standards for the proper
22
      handling of claims.”     It is undisputed that a violation of these
23
      regulations may infer a “lack of reasonableness by the insurer”
24
      in the context of a breach of contract or bad faith claim, see
25

26
      Rattan v. United Services Auto. Ass’n, 84 Cal. App. 4th 715, 724

27    (2000), but the August 11, 2009 Decision rejected CDI’s argument

28    that an implied waiver could arise by virtue of Defendants’
                                      29
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1     alleged violation of the CFCPRs alone.        Doc. 36 at 13-16.
2     Nothing new is provided to warrant reconsideration.
3
            Although a violation of administrative regulations issued by
4
      the California Insurance Commissioner, such as the CFCPRs, may
5
      provide a basis for estoppel against an insurer’s assertion of
6
      certain defenses, see Spray, Gould & Bowers, v. Assoc. Intern.
7

8     Ins. Co., 71 Cal. App. 4th 1260 (1999), CDI has not stated a

9     claim for estoppel, and has disclaimed any intent to do so.

10
      E.    Other Issues Raised by RSUI.
11
            At issue in the first round of motions to dismiss is the
12
      CFCPR’s use of the terms “first party” and “third party”
13

14    claimant.    The March 20, 2009 Decision interpreted those terms as

15    follows:

16                CDI asserts that RSUI violated the requirements of 10
                  CCR § 2695.7(b)(1) because it did not assert Exclusion
17                7 in its response to CDI’s request for reconsideration.
18                Complaint at ¶¶ 11, 14. RSUI rejoins that, 10 CCR §
                  2695.7(b)(1) explicitly differentiates between insurer
19                requirements for first party claims as opposed to third
                  party claims, requiring specificity in denial only for
20                first party claims. RSUI asserts that the claims in
                  this case are third party claims, citing Garvey v.
21                State Farm Fire & Casualty Co., 48 Cal. 3d 395 (1989),
22                for the general definitions of the relevant terms:

23                     If the insured is seeking coverage against loss or
                       damage sustained by the insured, the claim is
24                     first party in nature. If the insured is seeking
                       coverage against liability of the insured to
25                     another, the claim is third party in nature.
26
                  Id. at 399 & n.2
27

28
                                          30
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1                 However, the California Fair Claims Practices
                  Regulations specifically define a “first party
2                 claimant” as “any person asserting a right under an
                  insurance policy as a named insured, other insured or
3
                  beneficiary under the terms of that insurance
4                 policy....” 10 CCR § 2695.2(f). Here, by requesting
                  coverage under the Policy, CDI is a “first party
5                 claimant,” entitling it to a denial that explicitly
                  explains which exclusions apply under 10 CCR §
6                 2695.7(b)(1).
7     Doc. 24 at 41-42.
8
            RSUI now attempts to revisit this ruling, raising the same
9
      arguments that were previously rejected (without formally moving
10
      for reconsideration).     RSUI argues that by distinguishing between
11

12    first- and third- party “claims,” it is “clear” that the

13    legislature is not referring to its own regulatory definitions of

14    first- and third-party “claimants.”       Doc. 49 at 10.    Rather, RSUI
15    again suggests that the general definitions of first- and third-
16
      party claims from Garvey should control.        RSUI offers no new
17
      legal authority to support reconsideration of the August 11, 2009
18
      decision.    Moreover, RSUI’s position is untenable in light of the
19
      statutory language.
20

21          The relevant CFCPR notice provision states:

22                Where an insurer denies or rejects a first party claim,
                  in whole or in part, it shall do so in writing and
23                shall provide to the claimant a statement listing all
                  bases for such rejection or denial and the factual and
24                legal bases for each reason given for such rejection or
25                denial which is then within the insurer's knowledge.
                  Where an insurer's denial of a first party claim, in
26                whole or in part, is based on a specific statute,
                  applicable law or policy provision, condition or
27                exclusion, the written denial shall include reference
                  thereto and provide an explanation of the application
28
                                          31
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1                 of the statute, applicable law or provision, condition
                  or exclusion to the claim. Every insurer that denies or
2                 rejects a third party claim, in whole or in part, or
                  disputes liability or damages shall do so in writing.
3

4     10 CCR § 2695.7(b)(1)

5           The CFCPR’s do not define “first party claim” and “third

6     party claim,” but do define “first party claimant” and “third
7     party claimant” as follows:
8
                  (f) "First party claimant" means any person asserting a
9                 right under an insurance policy as a named insured,
                  other insured or beneficiary under the terms of that
10                insurance policy, and including any person seeking
                  recovery of uninsured motorist benefits;
11

12                                             ***

13                (x) "Third party claimant" means any person asserting a
                  claim against any person or the interests insured under
14                an insurance policy;
15    10 CCR § 2695.2.
16
            The most straightforward interpretation of the statutory
17
      language is that each type of “claimant” is associated with a
18
      type of “claim.”     In other words, a first party claimant is a
19
      person who brings a first party claim.         This is supported by
20

21    other provisions within the CFCPRs.       For example, 10 CCR §

22    2695.7(a) provides:

23                No insurer shall discriminate in its claims settlement
                  practices based upon the claimant's age, race, gender,
24                income, religion, language, sexual orientation,
25                ancestry, national origin, or physical disability, or
                  upon the territory of the property or person insured.
26
      Likewise, 10 CCR § 2695.7(b)(2) provides:
27
                  Subject to the provisions of subsection 2695.7(k),
28
                                          32
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1                 nothing contained in subsection 2695.7(b)(1) shall
                  require an insurer to disclose any information that
2                 could reasonably be expected to alert a claimant to the
                  fact that the subject claim is being investigated as a
3
                  suspected fraudulent claim.
4
      In both provisions, the “claimant” is the individual in
5
      possession of the “claim.
6
            It follows that a “first party claimant” as that term is
7

8     defined in the CFCPRs, is the individual bringing a “first party

9     claim” as that term is used in the notice provision.         Because a

10    “first party claimant” is “any person asserting a right under an
11    insurance policy as a named insured, other insured or beneficiary
12
      under the terms of that insurance policy...,” 10 CCR § 2695.2(f)
13
      (emphasis added), it also follows that a “first party claim” is a
14
      claim brought by a “person asserting a right under an insurance
15
      policy as a named insured, other insured or beneficiary under the
16

17    terms of that insurance policy....” (emphasis added).          As the

18    August 11, 2009 Decision concluded, by requesting coverage under
19    the Policy, CDI is a “first party claimant,” entitling it to a
20
      denial that explicitly describes which exclusions apply under 10
21
      CCR § 2695.7(b)(1).     RSUI offers no reason to reconsider this
22
      conclusion.
23

24                                  V. CONCLUSION
25          Although this is a close call, Waller suggests that the
26
      operation of implied waiver is a question of fact that cannot be
27
      decided on the pleadings, but rather requires factual
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                                          33
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1     development, even if the waiver sought would create coverage
2     where coverage is expressly excluded by the insurance contract.
3
      Defendant’s motion for judgment on the pleadings is DENIED.          A
4
      further scheduling conference will be held on 4/29/10 at 8:15
5
      a.m. in Courtroom 3 (OWW) to set a final schedule for this case.
6

7     SO ORDERED
8     DATED: April 15, 2010
                                                  /s/ Oliver W. Wanger
9                                                   Oliver W. Wanger
                                               United States District Judge
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